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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


DANA LAMB, and ACCESS NOW, INC.,

                       Plaintiffs,
vs.                                        Case No.    2:05-cv-93-FtM-33DNF


CHARLOTTE   COUNTY,    a   political
subdivision of the State of Florida,

                    Defendant.
______________________________________/

                                   ORDER

      This matter comes before the Court pursuant to Plaintiffs’

Motion for Summary Judgment (Doc. # 42), filed on February 27,

2006, and Defendant’s Motion for Summary Judgment and to Dismiss

for Lack of Subject Matter Jurisdiction (Doc. # 49), filed on March

1, 2006. Responses to both Plaintiffs’ and Defendant’s dispositive

motions have been filed (Docs. # 58 and 59).

I.    Standard of Review

      A.    Summary Judgement

      Summary    judgment     is   appropriate        “if   the   pleadings,

depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, show that there is no genuine

issue as to any material fact and that the moving party is entitled

to judgment as a matter of law.”       Fed. R. Civ. P. 56(c).      A factual

dispute alone is not enough to defeat a properly pled motion for

summary judgment; only the existence of a genuine issue of material
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fact will preclude a grant of summary judgment.                      Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

      An issue is genuine if the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.                    Mize v.

Jefferson    City   Bd.   of   Educ.,       93   F.3d   739,   742   (11th   Cir.

1996)(citing Hairston v. Gainesville Sun Publ’g Co., 9 F.3d 913,

918 (11th Cir. 1993)).         A fact is material if it may affect the

outcome of the suit under the governing law.             Allen v. Tyson Foods,

Inc., 121 F.3d 642, 646 (11th Cir. 1997).               The moving party bears

the initial burden of showing the court, by reference to materials

on file, that there are no genuine issues of material fact that

should be decided at trial.         Hickson Corp. v. N. Crossarm Co.,

Inc., 357 F.3d 1256, 1260 (11th Cir. 2004)(citing Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986)).                “When a moving party has

discharged its burden, the non-moving party must then ‘go beyond

the pleadings,’ and by its own affidavits, or by ‘depositions,

answers to interrogatories, and admissions on file,’ designate

specific facts showing that there is a genuine issue for trial.”

Jeffrey v. Sarasota White Sox, Inc., 64 F.3d 590, 593-94 (11th Cir.

1995)(citing Celotex, 477 U.S. at 324).

      If there is a conflict between the parties’ allegations or

evidence, the non-moving party’s evidence is presumed to be true

and all reasonable inferences must be drawn in the non-moving

party’s favor.      Shotz v. City of Plantation, Fla., 344 F.3d 1161,


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1164 (11th Cir. 2003).      If a reasonable fact finder evaluating the

evidence could draw more than one inference from the facts, and if

that inference introduces a genuine issue of material fact, the

court should not grant summary judgment.         Samples ex rel. Samples

v. City of Atlanta, 846 F.2d 1328, 1330 (11th Cir. 1988)(citing

Augusta Iron & Steel Works, Inc. v. Employers Ins. of Wausau, 835

F.2d 855, 856 (11th Cir. 1988)). However, if non-movant’s response

consists of nothing “more than a repetition of his conclusional

allegations,” summary judgment is not only proper, but required.

Morris v. Ross, 663 F.2d 1032, 1034 (11th Cir. 1981).

      B.    Motion to Dismiss under Rule 12(b)(1), Fed. R. Civ. P.

      Motions filed under Rule 12(b)(1), Fed. R. Civ. P., question

this Court’s jurisdiction over the subject matter of the case.

Motions to dismiss for lack of subject matter jurisdiction pursuant

to Rule 12(b)(1), Fed. R. Civ. P., may attack jurisdiction facially

or factually.      Morrison v. Amway Corp., 323 F.3d 920, 924, n.5

(11th Cir. 2003).     Where the jurisdictional attack is based on the

face of the pleadings, the court merely looks to determine whether

the plaintiff has sufficiently alleged a basis of subject matter

jurisdiction, and the allegations in the plaintiff’s complaint are

taken as true for purposes of the motion.        Lawrence v. Dunbar, 919

F.2d 1525, 1529 (11th Cir. 1990).

      In factual attacks, on the other hand, the court delves into

the arguments asserted by the parties and the credibility of the


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evidence presented.      Garcia v. Copenhaver, Bell, and Assocs., 104

F.3d 1256, 1260-1261 (11th Cir. 1997).            As stated in Morrison,

“Factual attacks challenge subject matter jurisdiction in fact,

irrespective of the pleadings. In resolving a factual attack, the

district court may consider extrinsic evidence such as testimony

and affidavits.”     323 F.3d at 925.     In deciding a motion to dismiss

filed under Rule 12(b)(1), Fed. R. Civ. P., this Court is not

required to assume that the allegations in the complaint are true.

Rosenkrantz v. Markopoulos, 254 F.Supp.2d 1250, 1251 (M.D. Fla.

2003); see also Goodman v. Sipos, 259 F.3d 1327, 1331 n.6 (11th

Cir. 2001)(factually-based attacks on subject matter jurisdiction

go beyond the pleadings and permit testimony and affidavits to be

considered).

      Plaintiffs bear of burden of demonstrating that the Court has

jurisdiction in this case.      Menchaca v. Chrysler Credit Corp., 613

F.2d 507, 511 (5th Cir. 1980).1       Once subject matter jurisdiction

has been questioned, a plaintiff is required to “clearly allege

facts demonstrating that he is a proper party to invoke judicial

resolution of the dispute and the exercise of the court’s remedial

powers.” Warth v. Seldin, 422 U.S. 490, 518 (1975).

      In addition, courts may dismiss cases pursuant to Federal Rule



      1
      In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.
1981), the Eleventh Circuit adopted all cases decided by the Fifth
Circuit Court of Appeals prior to the close of business on
September 30, 1981 as binding precedent.

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of Civil Procedure 12(b)(1) upon finding that the plaintiff’s

claims are “clearly immaterial, made solely for the purpose of

obtaining     jurisdiction    or    are    wholly     unsubstantiated     and

frivolous.” Lawrence, 919 F.2d at 1529 (quoting Eaton v. Dorchester

Dev., Inc., 692 F.2d 727, 732 (11th Cir. 1982); see also Bell v.

Hood, 327 U.S. 678, 682-683 (1946).

      In this case, the Court will first address Defendant’s motion

to dismiss this case under Rule 12(b)(1), Fed. R. Civ. P., because

Defendant has questioned this Court’s jurisdiction over the subject

of this case.      Courts have an affirmative duty to examine their

jurisdiction    in   each   case,   and   if   the   Court   concludes   that

jurisdiction is absent, the Court must not proceed on the merits of

the case.    As it would be improvident to examine the cross motions

for summary judgment absent jurisdiction, the Court will evaluate

Defendant’s motion to dismiss, and then proceed with the cross

motions for summary judgment only in the instance that jurisdiction

is found to exist.

II.   Background

      Plaintiffs Dana Lamb, an individual who requires a wheelchair

for mobility, and Access Now, Inc., a Florida not for profit

corporation, filed their complaint against Defendant, Charlotte

County, on March 4, 2005. (Doc. # 1).2               In the complaint, the

      2
       The complaint contains the following description of Access
Now, Inc.:


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Plaintiffs allege that Defendant violated Title II of the Americans

with Disabilities Act of 1990, 42 U.S.C. §§ 12131-12134 and its

implementing regulation, 28 C.F.R. Part 35, as well as § 504 of the

Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701 et seq.

Plaintiffs allege that Defendant Charlotte County maintains a

Library, a Community Center, and an Arts and Crafts Building, and

that such facilities fail to comply with the ADA.

      In December of 2004 or January of 2005, Plaintiff Lamb visited

the Englewood-Charlotte Public Library, and the Tringali Recreation

Center.3     The Tringali Recreation Center includes a Community


      The Association’s members consist of both qualified
      individuals with disabilities under and as defined by the
      ADA . . . and the able-bodied. Access Now is engaged,
      inter alia, in seeking compliance with the ADA,
      educational efforts to correct violations when found, and
      when necessary and appropriate, litigation to require
      persons and entities in violation of the ADA to comply
      with the Act.     One of the primary purposes of the
      Association is to represent its members to assure that
      public spaces are accessible to and useable by its
      members, to assure its members that they will not be
      excluded from participation in or be denied the benefits
      of the services, programs or activities of public
      accommodations, and to assure its members that they will
      not   be  discriminated    against   because   of   their
      disabilities.

(Doc. # 1 at 2-3).
      3
       According to Plaintiff Lamb’s deposition, he cannot recall
the exact date or month that he visited the properties:

      Q.    When did you fist go to the Tringali Center?
      A.    December or January of last year.
      Q.    January, ‘05?
      A.    Yes
      Q.    Do you have a date?

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Center and an Arts and Crafts Building.4          Plaintiffs allege that

these facilities failed to comply with the ADA and contained

“barriers to access” which denied Plaintiff Lamb the opportunity to

enjoy “full, safe, and equal access to the programs, services, and

facilities at the subject properties.” (Doc. # 1 at 2).

      Plaintiffs’ complaint explains that Lamb “continues to desire

to visit the facilities but continues to be denied full, safe, and

equal [use] due to the barriers to access and violations of the ADA

that continue to exist.” (Doc. # 1 at 2).                 Plaintiffs seek


      A.    No.

(Doc. # 42-2 Pl.’s Dep. p. 19).
      4
      Although Plaintiffs mention barriers to access at a gymnasium
at or near the Tringali Recreation Center, Plaintiffs’ complaint
does not mention a gymnasium.      Plaintiffs’ motion for summary
judgment acknowledges that Plaintiffs’ complaint does not address
the gymnasium at the complex: “Plaintiffs’ complaint set out with
specificity numerous barriers to access at three of the four
facilities at the Tringali Complex, but did not mention particular
barriers to access at the Gymnasium with specificity in their
Complaint.” (Doc. # 42-1 at 1).       Plaintiff Lamb’s deposition
testimony is also consistent with the notion that Plaintiffs’
complaint only covers the Library, the Community Center, and the
Arts and Crafts Building. (Doc. # 42-2 Pl.’s Dep. p. 31).
Defendant argues that Plaintiffs’ case should not extend to the
gymnasium, as such gymnasium was not mentioned in the complaint.
Plaintiff asserts that the liberal standards for notice pleading
under Federal Rule of Civil Procedure 8 allow Plaintiffs’ claim
with regard to the gymnasium.    This Court agrees with Defendant.
Accordingly, the subject matter of this suit does not extend to the
gymnasium. Upon noticing that the complaint failed to address the
gymnasium, Plaintiffs should have sought leave to amend the
complaint. Plaintiffs have failed to seek to cure the problem and
have carried on as if the complaint were amended despite the fact
that the complaint is devoid of assertions with regard to the
gymnasium. Accordingly, all requests for relief with regard to the
gymnasium are DENIED.

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injunctive relief and attorney’s fees and costs. (Doc. # 1 at 1).



III. Analysis

      Title    II   of   the    ADA   prohibits   discrimination    in   public

services and transportation and states, “No qualified individual

with a disability shall, by reason of such disability, be excluded

from participation in, or be denied the benefits of services,

programs, or activities of a public entity, or be subjected to

discrimination by any public entity.” 42 U.S.C. § 12132.

      As stated in Shotz v. Cates, 256 F.3d 1077, 1079 (11th Cir.

2001):

      To state a claim under Title II of the ADA, a plaintiff
      must allege: (1) that he is a qualified individual with
      a disability; (2) that he was excluded from participation
      in or . . . denied the benefits of the services,
      programs, or activities of a public entity or otherwise
      discriminated against by such entity; (3) by reason of
      such disability.

(Internal citations omitted)

      Defendant     moves      to   dismiss   Plaintiffs’   case   pursuant   to

Federal Rule of Civil Procedure 12(b)(1) on the ground that

Plaintiffs lack standing to bring this case, thus depriving the

Court of jurisdiction over this matter.

      A.      Lamb’s Standing

      In order to meet the requirements of Article III standing, a

plaintiff must establish that he has suffered an injury in fact,

that the injury was causally connected to the defendant’s actions,


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and that the injury would be redressed by a judgment in the

plaintiff’s favor.      See Lujan v. Defenders of Wildlife, 504 U.S.

555, 560-561 (1992).           In addition, concerning standing to seek

injunctive relief, Lujan states:

      Past exposure to illegal conduct does not in itself show
      a present case or controversy regarding injunctive relief
      if unaccompanied by any continuing present adverse
      effects. And the affiants’ profession of an “intent” to
      return to the places that they had visited before–-where
      they will presumably, this time, be deprived of the
      opportunity to observe animals of the endangered species
      –-is   simply    not    enough.      Such    “some   day”
      intentions–without any description of concrete plans, or
      indeed even any specification of when the some day will
      be -–do not support a finding of the “actual or imminent”
      injury that our cases require.

504 U.S. at 564 (emphasis in original).

      This proposition is also reflected in City of Los Angeles v.

Lyons, 461 U.S. 95, 102 (1983)(“exposure to illegal conduct does

not   in   itself   show   a    present       case   or   controversy   regarding

injunctive relief . . . if unaccompanied by any continuing, present

adverse effects.”)(internal citation omitted).                   The threat of

future injury must be “real and immediate–-as opposed to . . .

merely conjectural or hypothetical.” Wooden v. Bd. of Regents of

Univ. Sys. of Geo., 247 F.3d 1262, 1284 (11th Cir. 2001).

      Defendant alleges that Plaintiffs lack standing because there

is no “case or controversy” as required by Article III of the

Constitution, as explained in Lujan and other binding precedent,

because Lamb, while seeking injunctive relief, has failed to

credibly or sincerely allege that he will suffer a future injury.

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 In addition, according to Defendant, Lamb’s statement that he plans

 to return to the facility lacks the degree of specificity required

 by Lujan.

       Defendant     argues   that     Plaintiffs’   extensive     litigation

 history5    and   bleak   financial    status   belies   Lamb’s   deposition

 testimony that he plans to return to Defendant’s property.6             Lamb

 stated that he would like to see the Library’s shark tooth exhibit

 again (Doc. # 42-2 Pl.’s Dep. pp. 45, 49); however, his deposition

 does not contain any statement of intent to return to the other

 facilities being sued in this case: the Community Center and the

 Arts and Crafts Building.      Lamb’s deposition testimony also states

 that he has not been back to the Defendant’s property since January

 2005. ((Doc. # 42-2 Pl.’s Dep. p. 48).

       Further, Plaintiff Lamb’s deposition testimony contains the

 following commentary on Defendant’s Englewood-Charlotte Public

 Library and Tringali Center:

       Q.    Okay. Good.    Have you traveled to the Englewood
             area recently?
       A.    Not recently.
       Q.    When was the last time you were in the general area
             of Englewood? Do you know?


       5
        According to Defendant’s motion, “Plaintiff Lamb has filed
 117 similar suits in the United States District Court for the
 Middle District of Florida alone. Plaintiff Access Now, Inc. has
 filed some 235 suits in this District, over 400 in the Southern
 District and over 840 nationwide. (Doc. # 50 at 2).
       6
        Plaintiff receives Social Security disability checks and
 Plaintiff also testified that he receives some income from rental
 properties. (Doc. # 42-2 Pl.’s Dep. p. 14).

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       A.   I couldn’t tell you.
       Q.   Would it have been, say, before February of last
            year? Before, say a year. In the last year have
            you been there at all?
       A.   Yes.
       Q.   And doing what?
       A.   I was going up to Tampa.
       Q.   So you went through Englewood on the highway?
       A.   Yes.
       Q.   Okay. Have you been to the Tringali Center in the
            last year?
       A.   Not since I filed the case.
       Q.   Is it true, in your opinion do you think it’s true
            to say that the Tringali Center is in the boonies?
       A.   That’s pretty much – it’s off a main road.
       Q.   Okay.
       A.   But it’s - it’s off a main road. Some people might
            consider that.    But it’s off a main road.     You
            don’t have to go way back into a neighborhood or
            down a dirt road or anything.
       Q.   Do you have relatives in the area of Englewood?
       A.   No.
       Q.   Or any family or friends?
       A.   No.
       Q.   Okay.   So isn’t it true that you have been a
            Plaintiff in about 130 suits?
       A.   I couldn’t tell you.
       Q.   How many suits have you filed, do you think?
       A.   I wouldn’t be, I don’t count them. It’s –it’s in
            my life. I got some places I can’t get around, I
            can’t do things other people can do. I know that I
            can have thousands and be, you know, what’s the
            word I’m looking for–-it would be legitimate. But
            I only do ones that bother me, when I can’t do
            something.

 (Doc. # 42-2 Pl.’s Dep. pp. 11-12).

       Plaintiff Lamb’s deposition continues as follows:

       Q.   Have you, since January ‘05, have you been there a
            second time?
       A.   No. That was my second time.
       Q.   Okay. When did you fist go?
       A.   It wasn’t long before that. I went there probably
            within a two-week period.
       . . . .
       Q.   How did you know it [the Center] existed?

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       A.   I was just driving down there, and I had been
            driving for a while, and I saw the library and
            stuff and I stopped, went in there and checked the
            place out.
       Q.   Why were you traveling in the area?
       A.   I didn’t have a reason.
        . . . .
       Q.   So what brought you there a second time?
       A.   I was in that area. I actually do a lot of driving
            around.    I’m single, and I get fed up with
            everything, I get in my van, take off.        I’ve
            traveled all over the bottom, the south part of
            Florida. Second time I was going by and I stopped
            to see the shark tooth exhibit again. . . . the
            second time is when I encountered the bathroom
            problem.
       . . . .
       Q.   Is it true to say that your home in LaBelle is
            about 75 miles away from Tringali Center?
       A.   If that’s what you found out . . . Mapquest is
            pretty close, yes.

 (Doc. # 42-2 Pl.’s Dep. pp. 20-25).

       Plaintiff’s deposition testimony also reflects that there are

 several libraries that are closer to his home than Defendant’s

 library.   (Doc. # 42-2 Pl.’s Dep. p. 25).

       Defendant   persuasively    argues   that   Plaintiff    Lamb   lacks

 standing to sue Defendant because Lamb lacks the requisite concrete

 and specific intent to return to the properties as (1) Lamb lives

 approximately one hour and forty five minutes (75 miles) away from

 the property; (2) Lamb’s contact with the property has been

 infrequent; (3) Lamb has not been back to the property since filing

 the complaint; (4) there are other libraries and similar facilities

 closer to Lamb’s home, including a library located only seven miles

 from his home; (5) Lamb has no connection to the property and no


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 family or friends located near the property; (6) Lamb has no

 immediate or concrete plans to return to the property, only a non-

 specific “wish” to return if the property comes into compliance;

 (7) Lamb has filed many similar suits throughout a large geographic

 area; and (8) Lamb has evinced a desire to visit each of the many

 sites sued, despite the incredibility of such statements. (Doc. #

 50 at 8).

       Defendant relies upon several district court cases, including

 Brother v. Rossmore Tampa Limited Partnership, No. 8-03-cv-1253-

 24MAP, 2004 WL 3609350 (M.D. Fla. Aug. 19, 2004).              In Brother, a

 wheelchair-bound plaintiff sued the owner of a Tampa, Florida hotel

 under   Title    III    of   the   Americans   with   Disabilities     Act   for

 defendant’s alleged failure to remove structural barriers to access

 within the hotel.       The plaintiff was a resident of Miami, Florida

 and visited Tampa, Florida for a church event. The court initially

 entered   an    order    granting    summary   judgment   in   favor    of   the

 Defendant; however, upon reconsideration, the court determined that

 the case should have been dismissed for lack of subject matter

 jurisdiction.     The Court carefully examined the facts of the case

 and determined that the plaintiff lacked a specific intent to

 return to the defendant’s property, a requirement for the relief

 sought.   Accordingly, the court vacated it order granting summary

 judgment for Defendant and dismissed the case for lack of subject

 matter jurisdiction.


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        Defendant also relies upon the case of Lamb v. EID Management,

 LLC, 2:02-cv-312-FtM-29DNF (M.D. Fla. July 8, 2003), in which the

 court granted a motion for summary judgment in favor of the

 defendant, a hotel owner, upon finding that the plaintiff, who

 visited the hotel only one time and had no specific intent to

 return to the hotel, lacked standing to sue under Title III of the

 ADA.

        This Court agrees with Defendant’s analysis, and follows the

 reasoning of the Brother v. Rossmore and Lamb v. EID Management

 cases cited above, as well as the following district court cases

 that have reached a similar result: Brother v. Tiger Partner, LLC,

 331    F.Supp.2d    1368,   1373   (M.D.      Fla.   2004)   (granting      summary

 judgment against the plaintiff in a Title III ADA case and noting,

 “because injunctions regulate future conduct, a party has standing

 to seek injunctive relief only if the party alleges a real and

 immediate–-as opposed to a merely conjectural or hypothetical--

 threat of future injury” (citation omitted)); Brother v. CPL

 Invest.,    Inc.,    317    F.Supp.2d        1358,   1369    (S.D.   Fla.     2004)

 (discussing the fact that the plaintiff had filed over fifty Title

 III lawsuits in holding that the plaintiff’s stated intent to

 return to the hotel sued was not credible); Rosenkrantz, 254 F.

 Supp. 2d at 1253 (granting motion to dismiss Title III ADA case

 against hotel owner and finding “Plaintiff’s future travel plans


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 are just ‘someday’ intentions and lack any description of concrete

 plans or anything more definite than that he will travel to the

 Tampa Bay area in the next year or two probably.                       Plaintiff’s

 ‘future injury’ is identical to the injury allege in Lujan and,

 therefore, Plaintiff has failed to establish standing to bring this

 suit.”); Rodriguez v. Investco, LLC, 305 F. Supp. 2d 1278, 1285

 (M.D. Fla. 2004)(dismissing ADA plaintiff’s case upon finding that

 plaintiff     did    not   have    a   credible    intent     to   return    to   the

 defendant’s property, but instead, that plaintiff was “merely a

 professional pawn in an ongoing scheme to bilk attorney’s fees from

 the Defendant.”).

       As in the cases cited above, Plaintiff Lamb lacks standing to

 seek injunctive relief because the facts do not give rise to the

 inference     that     future     unlawful       discrimination       will   occur.

 See   Shotz   v.     Cates,   256      F.3d    1077,   1081   (11th   Cir.   2001).

 Plaintiff lives 75 miles from the property in question and has no

 connection to the property.            Plaintiff happened upon the property

 as he was aimlessly traveling the highways.                        He has been to

 property only two times and has stated no specific and concrete

 plan to return. Plaintiff has filed numerous lawsuits under Titles

 II and III of the ADA.            The Court finds that his allegations of

 intent to return to the property in question are not credible, and

 even if such intentions were credible, they lack the specificity

 required to maintain a suit for injunctive relief.


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       Accordingly, this case is dismissed as to Plaintiff Lamb.

       B.     Access Now Inc.’s Standing

       This Court must now discern whether Plaintiff Access Now,

 Inc., has standing to pursue its claim.

       In order for an organization to have associational standing to

 bring a suit on behalf of its members, it must show that “(a) its

 members would otherwise have standing to sue in their own right;

 (b) the interests [the association] seeks to protect are germane to

 the organization’s purpose; and (c) neither the claim asserted nor

 the relief requested requires the participation of individual

 members in the lawsuit.” Hunt v. Wash. State Apple Adver. Comm.,

 432   U.S.   333,   343   (1977).     Further,    to    enjoy   associational

 standing, an organization must allege an injury to at least one of

 its   members.      Warth,   422    U.S.   at    511.      Accordingly,   an

 organization’s failure to maintain a member who has standing to sue

 is fatal to that organization’s standing if associational standing

 is the sole basis of the organization’s standing. Nat’l Alliance

 for the Mentally Ill v. Bd. of County Comm’rs of St. John’s County,

 375, F.3d 1292, 1296 (11th Cir. 2004)(“the right of an association

 to sue on behalf of its constituents does not relieve its of its

 obligation to show that one of its constituents otherwise had

 standing to sue.”)(citation omitted).

       Because this Court has determined that Plaintiff Lamb lacks

 standing to pursue his claim, and Access Now, Inc.’s standing is


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 predicated upon Lamb’s standing in this case, this Court determines

 that Plaintiff Access Now, Inc. lacks standing to proceed.

       ORDERED, ADJUDGED, and DECREED:

 (1)   Defendants’ Motion to Dismiss this Case for Lack of Subject

       Matter Jurisdiction (Doc. # 49) is GRANTED.

 (2)   The Clerk is directed to terminate all pending motions and

       deadlines and to close this case.

       DONE and ORDERED in Chambers in Fort Myers, Florida, this 21st

 day of April, 2006.




 Copies:

 Counsel of Record




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